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 4
     Attorney for KHIN “KENNY” UNG
 5
 6                              UNITED STATES DISTRICT COURT
 7                             EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                 CR. NO. 2:07-CR-025-EJG
 9                                         )
                          Plaintiff,       )                 STIPULATION AND
10                                         )                 ORDER VACATING DATE,
                                           )                 CONTINUING CASE AND
11                                         )                 EXCLUDING TIME
     vs.                                   )
12                                         )                 Date : 1/06/12
     KHIN “KENNY” UNG,                     )                 Time : 10:00 a.m.
13                                         )                 Court : Hon. Edward J. García
                          Defendant.       )
14   _____________________________________ )
15         IT IS HEREBY STIPULATED by and among Plaintiff United States of America, through
16   Assistant United States Attorney Heiko P. Coppola and Defendant Khin “Kenny” Ung, through
17   his counsel, Gilbert A. Roque, that the Status Conference scheduled for November 10, 2011,
18   at 2:00 p.m., be vacated and the matter be continued to January 6, 2012, at 10:00 a.m.,
19   before the Honorable Edward J. García. This continuance is requested by the parties in order
20   to permit the Government to determine whether the case will be retried.
21          IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18 U.S.C.
22   § 3161 et seq. be tolled pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), Local Code T-4
23   (time to prepare), and that the ends of justice served in granting the continuance outweigh the
24   best interests of the public and the defendant in a speedy trial.
25          IT IS SO STIPULATED.
26                                             Respectfully submitted,
27   DATED: November 8, 2011                   /s/ Gilbert A. Roque
                                               GILBERT A. ROQUE, Attorney for
28                                             KHIN “KENNY” UNG, Defendant

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 1
     DATED: November 8, 2011                   /s/ Heiko P. Coppola
 2                                             HEIKO P. COPPOLA
                                               Assistant United States Attorney
 3                                             Attorney for Plaintiff
 4
                                                ORDER
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            The Court, having received, read and considered the stipulation of the parties, and
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     good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
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     order. Based on the stipulation of the parties, the Court finds that the ends of justice served
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     by the granting of such continuance outweigh the best interests of the public and the
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     defendant in a speedy trial, and orders that the time from the date of the parties’ stipulation,
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     November 8, 2011, up to and including the new Status Conference, January 6, 2012, shall be
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     excluded from computation of time within which the trial of this case must be commenced
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     under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code
13
     T4 (reasonable time for defense counsel to prepare).
14
            It is further ordered that the November 10, 2011, Status Conference is vacated and
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     shall be continued until January 6, 2012, at 10:00 a.m.
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            IT IS SO ORDERED.
18
19   DATED: November 8, 2011                   /s/ Edward J. Garcia
                                               EDWARD J. GARCIA
20                                             United States District Judge
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